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                             UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


 IN RE: FACEBOOK, INC., CONSUMER                 MDL No. 2843
 PRIVACY USER PROFILE LITIGATION                 Case No. 18-md-02843-VC


                                                 PRETRIAL ORDER NO. 4:
 This document relates to:                       APPOINTING LEAD COUNSEL

 ALL ACTIONS




       The following people are appointed co-lead counsel in this matter: Derek Loeser of

Keller Rohrback, and Lesley Weaver of Bleichmar Fonti & Auld.

       IT IS SO ORDERED.

Dated: July 27, 2018
                                           ______________________________________
                                           VINCE CHHABRIA
                                           United States District Judge
